Case 2:16-cv-02907-SHM-tmp Document 369-1 Filed 05/12/21 Page 1 of 23                  PageID 3792




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN SECTION OF TENNESSEE
                                   WESTERN DIVISION

    SCOTT TURNAGE, DEONTAE TATE, JEREMY S.                      )   Case No. 2:16-cv-2907-
    MELTON, ISSACCA POWELL, KEITH BURGESS,                      )   SHM/tmp
    TRAVIS BOYD, TERRENCE DRAIN, and                            )
    KIMBERLY ALLEN on behalf of themselves and all              )   (Hon. Judge Samuel H. Mays)
    similarly situated persons,                                 )
                                                                )
            PLAINTIFFS,                                         )
    v.                                                          )
                                                                )
    BILL OLDHAM, in his individual capacity as former           )
    Sheriff of Shelby County, Tennessee; FLOYD                  )
    BONNER, JR., in his official capacity as Sheriff of         )
    Shelby County, Tennessee; ROBERT MOORE, in his              )
    individual capacity as former Jail Director of Shelby       )
    County, Tennessee; KIRK FIELDS, in his official             )
    capacity as Jail Director of Shelby County, Tennessee;      )
    CHARLENE McGHEE, in her individual capacity as              )
    former Assistant Chief of Jail Security of Shelby County,   )
    Tennessee; REGINALD HUBBARD, in his official                )
    capacity as Assistant Chief of Jail Security of Shelby      )
    County, Tennessee; DEBRA HAMMONS, in her                    )
    individual capacity as former Assistant Chief of Jail       )
    Programs of Shelby County, Tennessee; TIFFANY               )
    WARD in her official capacity as Assistant Chief of Jail    )
    Programs of Shelby County, Tennessee; SHELBY                )
    COUNTY, TENNESSEE, a Tennessee municipality;                )
    TYLER TECHNOLOGIES, INC., a foreign corporation;            )
    GLOBAL TEL*LINK CORPORATION, a foreign                      )
    corporation; SOFTWARE AG USA, INC., a foreign               )
    corporation; and SIERRA-CEDAR, INC., a foreign              )
    corporation, SIERRA SYSTEMS GROUP, INC., a                  )
    foreign corporation; and TETRUS CORP, a foreign             )
    corporation                                                 )
                                                                )
            DEFENDANTS.                                         )

       MEMORANDUM IN SUPPORT OF JOINT MOTION FOR PRELIMINARY
    APPROVAL OF CLASS SETTLEMENT, CONDITIONAL CERTIFICATION OF THE
        SETTLEMENT CLASS, APPROVAL OF THE PROPOSED NOTICE OF
         SETTLEMENT, AND CLASS ACTION SETTLEMENT PROCEDURES
                   (“PRELIMINARY APPROVAL MOTION”)

                                                  1
Case 2:16-cv-02907-SHM-tmp Document 369-1 Filed 05/12/21 Page 2 of 23                                   PageID 3793




          Plaintiffs Scott Turnage, Deontae Tate, Jeremy S. Melton, Aubrey L. Brown, as

   administrator ad litem of the estate of Issacca Powell, Keith Burgess, Travis Boyd, Terrence

   Drain, and Kimberly Allen, on behalf of themselves and all other similarly situated persons

   (“Plaintiffs”), by and through their Rule 23(g)(3) appointed Interim Class Counsel, and

   Defendants Bill Oldham, Floyd Bonner, Jr., Robert Moore, Kirk Fields, Charlene McGhee,

   Reginald Hubbard, Debra Hammons, Tiffany Ward, in their individual and/or official capacities,

   and Shelby County, Tennessee (“County Defendants”), and Tyler Technologies, Inc., Global

   Tel*Link Corporation, Software AG USA, Inc., Sierra-Cedar, Inc., Sierra Systems Group, Inc.,

   and Tetrus Corp. (the “Vendor Defendants”) (collectively, the County Defendants and Vendor

   Defendants are referred to herein as the “Defendants”), by and through their respective

   attorneys, respectfully move for preliminary approval of the settlement of this class action as

   provided herein.


                                               INTRODUCTION

          Through this Motion, Plaintiffs and Defendants seek preliminary approval of the terms

   of the Stipulation and Settlement Agreement dated April 2, 2021 (the “Settlement”), a fully

   executed copy of which is attached hereto as Exhibit No. 1 (along with Exhibits A – E attached

   thereto). 1 For the reasons set forth below, the proposed Settlement is fair, reasonable, adequate

   and in the best interests of the Class Members, and it warrants this Court’s preliminary approval.

   The Parties respectfully request that the Court enter the proposed Preliminary Approval Order

   attached as Exhibit D to the Settlement. More specifically, the parties request that the Court do




   1
          Unless otherwise defined herein, capitalized terms used herein have the meanings defined in the Settlement.

                                                          2
Case 2:16-cv-02907-SHM-tmp Document 369-1 Filed 05/12/21 Page 3 of 23                                     PageID 3794




   the following:


           (1)      Preliminarily approve of the Settlement as fair, reasonable, adequate and in
                    the best interests of the Class Members;

           (2)      Preliminarily certify, for purposes of settlement only, the Settlement Class;

           (3)      Preliminarily appoint Interim Class Counsel as Settlement Class Counsel
                    and approve of compensation for Class Counsel as contemplated by the
                    Settlement;

           (4)      Preliminarily appoint the named Plaintiffs as Class Representative Plaintiffs
                    and approve of Incentive Awards as contemplated by the Settlement;

           (5)      Approve of the issuance of Class Notice to Class Members via publication
                    and determine that such Notice complies with all requirements, including,
                    but not limited to, Rule 23 of the Federal Rules of Civil Procedure and the
                    Due Process Clause of the United States Constitution;

           (6)      Approve of the form of notice provided pursuant to the Class Action
                    Fairness Act as reasonable and appropriate under the circumstances;

           (7)      Approve of and designate CMM Settlement Solutions as the Administrator
                    and order that firm to disseminate, in accordance with the terms of the
                    Settlement and Preliminary Approval Order, the Class Notice; 2

           (8)      Require Class Members who wish to object to the Settlement to submit a
                    timely written objection by a deadline and advise that a failure to do so shall
                    prevent those Class Members from objecting to the Settlement;

           (9)      Require any Class Member who objects to the Settlement and wishes to
                    appear at the Final Approval Hearing to file a notice of intent to appear;

           (10)     Set a Claim Deadline and a deadline and procedure by which Class Members
                    can opt out or exclude themselves from the Settlement Class;

           (11)     Authorize the Parties to take all necessary and appropriate steps to
                    implement the Settlement; and

           (12)     Schedule a Final Approval Hearing.



   2
            The Parties obtained numerous bids for the role as administrator. CMM Settlement Solutions submitted the
   best and lowest cost bid based on the services the Parties will require. In addition, CMM Settlement Solutions is an
   experienced claims administrator who is familiar to counsel and who has worked with Class Counsel in similar class
   action administrations.

                                                            3
Case 2:16-cv-02907-SHM-tmp Document 369-1 Filed 05/12/21 Page 4 of 23                   PageID 3795




                          BACKGROUND AND SETTLEMENT TERMS

          This is a class action brought under the Civil Rights Act of 1871, 42 U.S.C. §§ 1983 and

   1988 and Tennessee common law asserted by Plaintiffs in a Class Action Complaint initially

   filed on November 17, 2016. Several separate suits were consolidated in this Court under

   docket 2:16-cv-2907 (the “Action”). See ECF Nos. 41, 42, 85, 89, 101. The Class Action

   Complaint was thereafter amended on seven occasions, concluding with the operative Seventh

   Amended Class Action Complaint. ECF No. 218. The Parties have vigorously litigated this

   case for over five years and, in doing so, have engaged in significant class discovery,

   including, but not limited to, extensive ESI document exchange and review and discovery

   pertaining to the size of the putative class. Files related to over 72,000 detainees were made

   available for production, electronically hosted on software licensed to Interim Class Counsel,

   and reviewed for purposes of depositions. The Parties conducted eighteen depositions and

   engaged in substantial motion practice and hearings to resolve a number of discovery issues

   that arose over the course of this litigation.

          Thereafter, the parties formally mediated this case with John Golwen of Bass, Berry

   & Sims over the course of four separate days and continued to negotiate through the mediator

   thereafter for several weeks. Over the course of mediation, Plaintiffs negotiated and reached

   an agreement in principle with the Defendants on the terms of a class settlement of claims in

   this Action.


          The overall terms of the Settlement can be summarized as follows:

              •   The Parties agree to the certification of a settlement class for purposes
                  of settlement only;

              •   The Settlement Class is comprised of all individuals who, from November
                  1, 2016 to the date of the Final Approval Hearing, were detained in
                                                    4
Case 2:16-cv-02907-SHM-tmp Document 369-1 Filed 05/12/21 Page 5 of 23                                  PageID 3796




                    confinement at the Shelby County Jail after legal authority for those
                    detentions ceased as a result of the November 2016 implementation of a
                    computer system that allegedly contributed to the untimely release of
                    detainees (the “Settlement Class”). 3

                •   The Defendants will collectively pay a Gross Settlement Amount of
                    $4,900,000 in accordance with the Defense Allocations outlined in
                    paragraph 4.2 of the Settlement;

                •   Class Members who submit approved claims shall be entitled to (i) $750
                    per day for each day of Over Detention between 1 and 3 days; (ii) $1,000
                    per day for each day of Over Detention between 4 and 11 days; and (iii)
                    $2,500 per day for each day of Over Detention of 12 or more days. No
                    Class Member shall be eligible to receive more than $75,000 total from the
                    Net Settlement Amount. Compensation for Day 1 shall be paid to Class
                    Members who were Over Detained between 9 and 24 hours. Individuals
                    claiming over detention of less than 9 hours are Class Members and shall
                    benefit from the injunctive relief described below;

                •   Class Counsel shall be permitted to petition the Court for legal fees and
                    expenses of $2,400,000 for Class Counsel and for Incentive Awards of
                    $17,500 for each of the eight Class Representative Plaintiffs, which
                    amounts will be funded out of the Gross Settlement Amount;

                •   The Parties shall retain an Administrator for purposes for giving notice to
                    Class Members and receiving, evaluating and paying claims and the
                    administration fees in an amount not to exceed $300,000, which shall be
                    funded out of the Gross Settlement Amount;

                •   The remainder of the Gross Settlement Amount, after the payment of
                    attorneys’ fees, Incentive Awards and administrative costs, shall be made
                    available to pay eligible Class Members that submit timely claims in
                    accordance with the claims procedures and deadlines set forth in the
                    Settlement and in this Court’s orders;


           3
               Excluded from the Settlement Class are: (i) any person who has filed and has pending any case
   asserting individual claims against one or more of the Defendants containing allegations that are substantially
   similar to the Seventh Amended Class Action Complaint (however, for avoidance of doubt, all pending claims
   in this Action are included in the Settlement Class definition), (ii) the claims of any Person not arising from
   implementation of a computer system that allegedly contributed to the untimely release of prisoners, including,
   but not limited to, pending or future claims for excessive force, failure to render medical treatment, failure to
   protect while in custody, and all other comparable claims not arising from over-detention allegedly caused by
   the Shelby County computer system, and (iii) the named Defendants, their agents, affiliates, and employees, the
   Judge, District Attorneys, and Public Defenders assigned to this matter and their staff, and Class Counsel and
   their agents, affiliates and employees.


                                                          5
Case 2:16-cv-02907-SHM-tmp Document 369-1 Filed 05/12/21 Page 6 of 23                      PageID 3797




              •   Any funds remaining after the payment of all eligible and timely claims
                  shall revert back to the Defendants in the percentages outlined in the
                  Defense Allocations in paragraph 4.2 of the Settlement;

              •   To the extent the amount of eligible and timely claims exceed the Net
                  Settlement Amount, payments to Class Member shall be reduced on a pro
                  rata basis. If the total amount of eligible and timely claims exceed $3
                  million, Class Counsel shall be permitted to terminate the Settlement with
                  the express written consent of 6 of the 8 named Plaintiffs;

              •   The County Defendants agree to the injunctive relief outlined in paragraph
                  4.6 of the Settlement. In short, the Shelby County Sheriff’s Office has
                  agreed to certain processes and procedures designed to minimize the
                  likelihood of future Over Detention in the Shelby County Jails.

              •   Notice in the form attached to the Settlement as Exhibits B and C to
                  potential Class Members shall be made by publication in the Commercial
                  Appeal, Memphis Flyer, and Tri-State Defender for two consecutive weeks
                  and shall be published on a website created by the Administrator.
                  Advertising via use of an internet banner shall also be employed;

              •   Class Members shall be permitted to opt out and exclude themselves from
                  the Settlement Class. If the number of opt outs reaches a certain
                  confidential threshold, Defendants can exercise an option to terminate the
                  Settlement if at least 80% of the Defendants (calculated by percentage of
                  Defense Allocation) agree; and

              •   The Parties will enter into appropriate releases and dismiss the Action
                  with prejudice.

   I.     THE COURT SHOULD PRELIMINARILY APPROVE, FOR PURPOSES OF
          SETTLEMENT ONLY, THE CERTIFICATION OF THE CLASS

          The proposed Settlement comes prior to formal class certification and seeks to certify a

   class simultaneous with a settlement, commonly referred to as a “settlement class.” As such, this

   Court must first ensure that the proposed class certification meets the requirements of Rule 23(a)

   and (b)(3), with the exception that the Court need not consider, in analyzing a proposed settlement

   class, whether trial would present intractable management problems. See generally NEWBERG

   ON CLASS ACTIONS 5th Ed. § 13:12 (Dec. 2019 Update) (hereafter “NEWBERG”); Wright and



                                                   6
Case 2:16-cv-02907-SHM-tmp Document 369-1 Filed 05/12/21 Page 7 of 23                            PageID 3798




   Miller, 7B FEDERAL PRAC. AND PROC. § 1797:2 (3rd ed. Aug. 2019) (citing Amchem

   Products, Inc. v. Windsor, 521 U.S. 591 (1997)).


           While the Supreme Court reiterated that a trial court must conduct a “rigorous analysis” to

   confirm that the requirements of Rule 23 have been met, Wal-Mart Stores, Inc. v. Dukes, 131 S.

   Ct. 2541, 2551 (2011), the requisite “rigorous analysis” of the record and consideration of the

   merits must be focused on and limited to the question whether Rule 23’s requirements have been

   established and here, in the context of a proposed settlement class. In re Whirlpool Corp. Front-

   Loading Washer Prods. Liab. Litig., 722 F.3d 838, 851-52 (6th Cir. 2013). Permissible inquiry

   into the merits of plaintiffs’ claims at the class certification stage is limited, and district courts may

   not turn the class certification proceedings into a dress rehearsal for the trial on the merits. Id. at

   851-52.


           A.      THE SETTLEMENT MEETS THE REQUIREMENTS OF RULE 23(A)

                   1.      NUMEROSITY

           Where there are likely more than 40 class members, numerosity is presumptively satisfied.

   NEWBERG § 3:12. When analyzing numerosity, a district court uses its common sense. Young

   v. Nationwide Mut. Ins. Co., 693 F.3d 532, 541 (6th Cir. 2012). Only a “reasonable estimate” is

   required to establish numerosity. Bentley v. Honeywell Intern., Inc., 223 F.R.D. 471, 480 (S.D.

   Ohio 2004).


           As established in declaration attached hereto as Exhibit 2, the number of persons booked

   into the Shelby County Jail between November 1, 2016 through March 30, 2021, was 72,975.

   (Declaration of Emmett Lee Whitwell (“Whitwell Decl.”) ¶6). There is no way to easily determine

   how many of these detained individuals qualify as Class Members. Id. The only way to determine

                                                       7
Case 2:16-cv-02907-SHM-tmp Document 369-1 Filed 05/12/21 Page 8 of 23                            PageID 3799




   the precise number of Class Members who meet this threshold would be to individually review

   each inmate/detainee’s court jacket and jail record, which would be a burdensome and extremely

   costly undertaking. (Whitwell Dec. ¶7). Based on a random sampling, the Parties believe it is fair

   to estimate the total number of Class Members eligible for monetary relief to be approximately

   3,500. (Id. at ¶9) This estimate is affected by the fact that the vast majority of persons who may

   have been over-detained as a result of the implementation of the new computer system were

   booked no later than June 1, 2017 based upon various adjustments made by the County and

   Defendants regarding the new computer system, processing of detainees, etc.                 (Id. at ¶10)

   Numerosity is, therefore, present here.


                   2.      COMMONALITY

           Commonality only requires that “there are questions of law or fact common to the class.”

   Fed. R. Civ. P. 23(a)(2). To demonstrate commonality, plaintiffs’ “claims must depend upon a

   common contention . . . that is capable of class wide resolution— which means that determination

   of its truth or falsity will resolve an issue that is central to the validity of each one of the claims in

   one stroke.” Dukes, 564 U.S. at 350. “[E]ven a single common question will do.” Id. at 359.


           Here, Plaintiff contends that the claims of the Class members raise numerous issues of fact

   and/or law, thereby satisfying the requirements of Rule 23. These common legal and factual

   questions, which Plaintiffs contend may be determined without the necessity of resolving

   individualized factual disputes concerning any Class Member, include, but are not limited to,

   questions concerning the following issues: Those questions include, but are not limited to: (i)

   whether the U.S. Constitution protects arrestees' right to be released from detention after the time

   when legal authority for detention has ceased; (ii) whether one or more of the Defendants was


                                                       8
Case 2:16-cv-02907-SHM-tmp Document 369-1 Filed 05/12/21 Page 9 of 23                          PageID 3800




   negligent in the November 2016 implementation and/or operation of a new computer system

   involving the Shelby County Jail.


                  3.      TYPICALITY

          A representative’s claim is typical if it arises from the same conduct that gives rise to the

   claims of other class members and if his or her claims are based on the same legal theory. Beattie

   v. Century Tel., Inc., 511 F.3d 554, 561 (6th Cir. 2007); Kerns, 2007 WL 2044092, at *5. “[F]or

   the district court to conclude that the typicality requirement is satisfied, “a representative’s claims

   need not always involve the same facts or law, provided there is a common element of fact or law.”

   Gaynor v. Miller, 2018 WL 375606, at *9 (E.D. Tenn. Aug. 6, 2018); Kerns, 2007 WL 2044092,

   at *5-6.


          Here, Plaintiffs assert that their claims are typical of the Class Members because they have

   a common source and rest upon the same legal and remedial theories. For example, like the

   Plaintiffs, each Class Member was allegedly over detained at the Shelby County Jail during the

   class period. Accordingly, “as goes the claim[s] of the named plaintiff[s], so go the claims of the

   class.” Sprague v. Gen. Motors Corp., 133 F.3d 388, 399 (6th Cir. 1998).


                  4.      ADEQUACY

          Adequacy under Rule 23(a)(4) is satisfied where a proposed class representative: (1) does

   not have conflicts with other members of the class, and (2) has retained qualified counsel. Young,

   693 F.3d at 543. Here, Plaintiffs’ interests are aligned with the Class Members. There are no

   conflicts between members of the Class. Further, Plaintiffs have retained competent counsel

   experienced in class action litigation to represent the Class Members. 4 Indeed, this Court has


   4
          See Seventh Amended Complaint (ECF No. 218) at paragraphs 134-135 for a detailed listing of Class
                                                     9
Case 2:16-cv-02907-SHM-tmp Document 369-1 Filed 05/12/21 Page 10 of 23                           PageID
                                    3801



 already recognized the adequacy of Class Counsel by appointing them Interim Class Counsel on

 June 29, 2018. ECF No. 101.


         B.       THE SETTLEMENT MEETS THE REQUIREMENTS OF RULE 23(B)(3)

         To qualify for certification under Rule 23(b)(3), a settlement class must meet two

 requirements beyond the Rule 23(a) prerequisites: common questions must predominate over any

 questions affecting only individual members; and class resolution must be superior to other

 available methods for the fair and efficient adjudication of the controversy. Amchem, 521 U.S. at

 615. Again, in a settlement class situation, the Court does not inquire whether the “case, if tried,

 would present intractable management problems, for the proposal is that there be no trial.” Id. at

 620.


         Here, Plaintiffs contend that common factual and legal issues predominate. Plaintiffs and

 the Class Members allege a common cause of injury caused by a common course of conduct by

 Defendants. In addition, Plaintiffs allege that class action treatment would also be superior to other

 available methods for the fair and efficient adjudication of this matter, especially in the settlement

 context.     Individual litigation of the claims by all Class Members would be economically

 unfeasible and procedurally impracticable. The superiority of class certification over other

 available methods is measured by consideration of certain factors, including: the class members’

 interests in controlling the prosecution of individual actions; the extent and nature of any litigation

 concerning the controversy already begun by or against class members; the desirability of

 concentrating the litigation of various claims in the particular forum; and the likely difficulties in




 Counsel’s class action and other experience.

                                                   10
Case 2:16-cv-02907-SHM-tmp Document 369-1 Filed 05/12/21 Page 11 of 23                       PageID
                                    3802



 managing a class action. Hosp. Auth. of Metro. Gov’t of Nashville & Davidson Cty., Tennessee v.

 Momenta Pharm., Inc., 333 F.R.D. 390, 414 (M.D. Tenn. 2019).


        As the Sixth Circuit has explained, “‘[t]he policy at the very core of the class action

 mechanism is to overcome the problem that small recoveries do not provide the incentive for any

 individual to bring a solo action prosecuting his or her rights.’” Hicks v. State Farm Fire & Cas.

 Co., 2019 WL 846044, at *6 (E.D. Ky. Feb. 21, 2019), aff’d and remanded, 2020 WL 3888156

 (6th Cir. July 10, 2020) (citing Young, 693 F.3d at 545 (quoting Amchem, 521 U.S. at 617). Where,

 as here, “it is not economically feasible to obtain relief within the traditional framework of a

 multiplicity of small individual suits for damages, aggrieved persons may be without any effective

 redress unless they may employ the class-action device.” Id. (internal quotation marks and

 citations omitted).


        In sum, for settlement purposes only, all of the requirements of Rule 23 are satisfied. The

 next step is for the Court to analyze whether the proposed settlement warrants preliminary approval

 pursuant to Rule 23(e).


 II.    THE SETTLEMENT WARRANTS PRELIMINARY APPROVAL PURSUANT
        TO RULE 23(E)


        The Settlement Agreement is fair, reasonable, and adequate—resulting from extensive,

 arm’s length negotiations by experienced counsel. Rule 23(e) was recently amended to codify the

 factors that affect whether a court should approve a class action settlement, including for a class

 that has not yet been certified. In the context of preliminary approval, the amendments direct

 putative class counsel to provide the court with information sufficient to enable the court to

 determine that the settlement is fair, reasonable and adequate; that certification for purposes of

                                                 11
Case 2:16-cv-02907-SHM-tmp Document 369-1 Filed 05/12/21 Page 12 of 23                        PageID
                                    3803



 settlement is warranted; and that notice is justified because the court will likely grant final

 approval to the settlement. These amendments largely mirror current practice under applicable

 law. As discussed below, courts in the Sixth Circuit have applied similar principles as part of the

 analysis of preliminary approval motions for many years. All such factors weigh in favor of

 preliminary approval here.


        According to the amendments to Rule 23, before notice can issue, the putative class

 representative must demonstrate “that the Court will likely be able to” approve the settlement

 under Rule 23(e)(2); and (ii) “certify the class for purposes of judgment” arising from the

 settlement. Fed. R. Civ. P. 23(e)(1)(B). Under Rule 23(e)(2), a court may only approve a settlement

 based on a finding that the proposed settlement is “fair, reasonable and adequate” after considering

 whether:


             (A)     the class representatives and class counsel have adequately
                     represented theclass;
             (B)     the proposal was negotiated at arm’s length;
             (C)     the relief provided for the class is adequate, taking into account:
                       (i)   the costs, risks, and delay of trial and appeal;
                      (ii)   the effectiveness of any proposed method of distributing
                             relief tothe class, including the method of processing class
                             member claims;
                     (iii)   the terms of any proposed award of attorney’s fees,
                             includingtiming of payment; and
                     (iv)    any agreement required to be identified under Rule 23(e)(3); and
             (D)     the proposal treats class members equitably relative to each other.


 Fed. R. Civ. P. 23(e). These factors overlap with the factors that courts in the Sixth Circuit have

 considered on preliminary and final approval, which include:


              (1)    the likelihood of success on the merits weighed against the
                     amount andform of relief in the settlement;
              (2)    the complexity, expense and likely duration of the litigation;
              (3)    the opinions of class counsel and class representatives;
                                                 12
Case 2:16-cv-02907-SHM-tmp Document 369-1 Filed 05/12/21 Page 13 of 23                          PageID
                                    3804



              (4)    the amount of discovery engaged in by the Parties;
              (5)    the reaction of absent class members;
              (6)    the risk of fraud or collusion; and
              (7)    the public interest.


 In re Packaged Ice Antitrust Litig., 2011 WL 717519, at *8 (E.D. Mich. Feb. 22, 2011)(quotation

 marks and citations omitted). “The Court may choose to consider only those factors that are

 relevant to the settlement at hand and may weigh particular factors according to the demands of

 the case.” Id. (internal quotation marks and citation omitted).


        A court is not required at the preliminary approval stage to determine whether it will

 ultimately approve the settlement, but only whether “the proposed settlement will likely earn

 final approval.” See Fed. R. Civ. P. 23(e)(1) Adv. Comm. Note. As set forth in detail below,

 preliminary consideration of the Rule 23(e) factors and the Sixth Circuit factors support

 preliminary approval here.


        A.      Likelihood of Success on the Merits

        This factor analyzes whether there were risks that the class would not be certified or, if

 certified, potentially decertified. It also analyzes whether the class, if certified, would be able to

 establish liability or damages, and whether the Defendants have vigorously defended the lawsuit

 and whether there were risks. Blasi v. United Debt Serv., LLC, 2019 WL 6050963, at *7 (S.D.

 Ohio Nov. 15, 2019). This case has been hotly contested. Although Plaintiffs’ counsel has a high

 level of confidence in establishing liability, Defendants vigorously deny any liability and maintain

 that Plaintiff’s likelihood of success is uncertain at best. There are still factual and legal hurdles

 that remain in this case if it does not settle. See In re Packaged IceAntitrust Litig., 2011 WL




                                                  13
Case 2:16-cv-02907-SHM-tmp Document 369-1 Filed 05/12/21 Page 14 of 23                        PageID
                                    3805



 717519, at *8 (remaining factual and legal hurdles in complex case in part led court to hold that

 proposed settlement fell within range of reasonableness, fairness, and adequacy under Rule 23).


        In light of the uncertainty of liability and the unlikelihood that individual Class Members

 would pursue litigation on their own, the proposed Settlement here is fair, reasonable, adequate

 and in the best interests of the Class Members. Class Members who were Over Detained for more

 than 9 hours who timely submit their claims will receive significant compensation: (i) $750 per

 day for each day of Over Detention between 1 and 3 days; (ii) $1,000 per day for each day of

 Over Detention between 4 and 11 days; and (iii) $2,500 per day for each day of Over Detention

 of 12 or more days. In addition, all Class Members will benefit from the injunctive component

 of the Settlement, which requires Shelby County to undertake certain measures to ensure that

 individuals are not Over Detained in the future.


        The Parties extensively analyzed and negotiated the compensation to be paid to eligible

 Class Members, taking into account the anticipated amount of the Net Settlement Amount and

 the estimate of 3500 Class Members. Based on this analysis, Counsel for both Parties submit

 that the compensation and related terms of the Settlement are fair, reasonable, adequate and

 in the best interests of the Class Members.

        B.      Complexity, Expense and Likely Duration of the Litigation

        “Most class actions are inherently complex.” Moore v. Aeroteck, Inc., Case No. 2:16-

 1066. 2017 WL 2838148, at *8 (S.D. Ohio June 30, 2017). This hard-fought, five-year-old lawsuit,

 would certainly continue for several additional years in trial and appellate courts. There are seven

 separate Defendants, each with their own sophisticated legal counsel. Plaintiffs too have retained

 multiple counsel with well-known class action practices. The allegations involve not only complex


                                                 14
Case 2:16-cv-02907-SHM-tmp Document 369-1 Filed 05/12/21 Page 15 of 23                           PageID
                                    3806



 Constitutional legal issues, but also involve factual issues related to multiple, complicated

 computer systems. This factor certainly weighs in favor of approval of the Settlement.

        C.      Opinions of Class Counsel And Class Representative

        As noted, Plaintiff has retained competent counsel experienced in class action litigation to

 represent the Class Members in this litigation. Courts give weight to the recommendation of

 experienced counsel for the Parties in evaluating the adequacy of a settlement. Blasi, 2019 WL

 6050963 at *7; Does 1-2 v. Déjà Vu Services, Inc., 925 F.3d 886, 899 (6th Cir. 2019).

        Class Counsel has concluded that it is in the best interests of the Class Members that the

 claims asserted by Plaintiffs against Defendants in the Action be resolved on the terms and

 conditions set forth in the Settlement. After extensive consideration and analysis of the factual

 and legal issues presented in the Action, and extensive settlement negotiations, Class Counsel has

 reached the conclusion that the benefits that Class Members will receive as a result of this

 Settlement are a fair, reasonable and adequate result in light of the risks and uncertainties of

 continued litigation, the time and expense that would be necessary to prosecute the Action through

 class certification, trial and any appeals that might be taken, and the likelihood of success at trial.

        While Defendants deny any liability, nonetheless, Defendants concur that, under the

 circumstances, the Settlement is fair, reasonable and adequate and properly takes into the

 consideration the uncertainty and risks for continued litigation.

        D.      The Amount of Discovery

        The Parties have vigorously litigated this case for over five years and, in doing so, have

 engaged in significant class discovery, including, but not limited to, extensive ESI document

 exchange and review and discovery pertaining to the size of the putative class. Files relating

 to over 72,000 detainees were made available for production, electronically hosted on software

                                                   15
Case 2:16-cv-02907-SHM-tmp Document 369-1 Filed 05/12/21 Page 16 of 23                         PageID
                                    3807



 licensed to Interim Class Counsel, and reviewed for purposes of depositions. The Parties

 conducted eighteen depositions and engaged in substantial motion practice and hearings to

 resolve a number of discovery issues that arose over the course of this litigation.

        E.      The Reaction of Absent Class Members

        The reaction of absent class members cannot be determined prior to notice.

        F.      The Risk of Fraud or Collusion

        “Courts presume the absence of fraud or collusion in class action settlements unless there

 is evidence to the contrary.” Leonhardt v. ArvinMeritor, Inc., 581 F. Supp. 2d 818, 838 (E.D.

 Mich. 2008); Bowers v. Windstream Ky. East, LLC, 2013 WL 5934019, at *2 (W.D. Ky. Nov. 1,

 2013). There is no indicia of fraud or collusion as the class settlement negotiations were structured

 to follow the highest ethical standards.

        G.      The Public Interest

        “There is a strong public interest in encouraging settlement of complex litigation and class

 action suits because they are notoriously difficult and unpredictable and settlement conserves

 judicial resources.” Dick v. Sprint Comm. Co., LLC, 297 F.R.D. 283, 297 (W.D. Ky. 2014); see

 also Griffin v. Flagstar Bancorp, Inc., 2013 WL 6511860, at *5 (E.D. Mich. Dec. 12, 2013).

 III.   THE PROPOSED CLASS NOTICE, FORMS, AND PROCEDURES PROVIDE
        ADEQUATE NOTICE TO THE SETTLEMENT CLASS MEMBERS AND
        SATISFY DUE PROCESS

        Pursuant to Rule 23(e), the court must “direct notice in a reasonable manner to all class

 members who would be bound by a proposed settlement.”          Fed. R. Civ. P. 23(e)(1)(B). Notice

 of a class action settlement must be “reasonably calculated, under all the circumstances, to apprise

 interested parties of the pendency of the action and afford them an opportunity to present their

 objections.” Mullane v. Cent. Hanover Bank & Trust Co., 339 U.S. 306, 314 (1950). The notice

                                                  16
Case 2:16-cv-02907-SHM-tmp Document 369-1 Filed 05/12/21 Page 17 of 23                                             PageID
                                    3808



 must be the “best notice practicable under the circumstances.” Fed. R. Civ. P. 23(c)(2)(B); see

 also Phillips Petroleum Co. v. Shutts, 472 U.S. 797, 811-12 (1985). For any class certified under

 Rule 23(b)(3), the notice must inform class members “that the court will exclude from the class

 any member who requests exclusion, stating when and how members may elect to be excluded.”

 Fed. R. Civ. P. 23(c)(2)(B).

        Here, notice by publication is the best notice practicable under the circumstances. As

 explained fully in the Whitwell Declaration, notice by mail in this case would be unduly

 burdensome, expensive, and impractical. (Whitwell Decl. ¶¶ 5-14). Indeed, “[b]ecause of the

 unique circumstances of this class and the record-keeping at the Shelby County Jail, it is not

 practical or feasible and would be extremely time consuming and expensive to provide mail notice

 to Class Members. Given the historically transient nature of the Shelby County Jail’s population,

 as well as the small proportion of Class Members who will ultimately be eligible for monetary

 relief as explained below, requiring notification of Class Members by mail also would be unduly

 burdensome.” (Whitwell Decl. ¶ 5).

        The number of persons booked into the Shelby County Jail during the class period,

 November 1, 2016 through March 30, 2021, is 72,975. (Whitwell Decl. ¶6) There is no way to

 easily determine how many Class Members booked during this time period may have a valid claim

 for monetary relief. (Id. at ¶7) Pursuant to the parties’ proposed settlement terms, only inmates

 who were detained for 9 hours or more after legal authority for detention ceased are eligible for

 monetary relief. 5 (Id.) The only way to determine the number of Class Members who meet this

 threshold would be to individually review each inmate/detainee’s court jacket and jail record to




 5
        Individuals detained less than 9 hours still get the benefit of the injunctive relief in the Settlement.

                                                          17
Case 2:16-cv-02907-SHM-tmp Document 369-1 Filed 05/12/21 Page 18 of 23                       PageID
                                    3809



 determine the amount of time the claimant spent in jail and the amount of time from when legal

 authority for the detention ceased (usually based on an order from a court) until the actual time

 that the detainee was released (jail records). (Id.) Some of the relevant records are maintained in

 hard copy and others are maintained electronically; both would need to be reviewed to accurately

 and fully obtain the information. (Id.) Even if such review could be completed in an average of

 20 minutes per detainee, reviewing all 72,975 jackets and jail records at 8 hours a day, with 2

 persons reviewing files full time, would take nearly 6 years. (Id.) Such an undertaking, if the

 persons reviewing files were paid the current minimum wage, would cost Shelby County taxpayers

 approximately $175,000. (Id.)

        Mail notice is also impractical and infeasible for a number of reasons. First, a number of

 the files may lack information or contain inaccurate information.        Some inmates/detainees

 intentionally provide incorrect or outdated addresses or are homeless when arrested. Second, mail

 notice is also hampered by the fact that many of the inmates/detainees are transient. Third, at the

 bulk mail rate of $0.46 per letter, it would cost approximately $33,300 in mailing costs just to

 submit mail notice to all persons who were booked into the Shelby County Jail during the class

 period. Fourth, there is legitimate concern for fraud if these notices are mailed to all 72,975

 individuals arrested during the time period. The potential claimants are people who have been

 arrested, many of whom have been convicted (in some instances more than once). Thus, under

 the circumstances, notice by publication represents the “best notice practicable under the

 circumstances.” Fed. R. Civ. P. 23(c)(2)(B); see also Phillips, 472 U.S. at 811-12.

        The form and the manner of the proposed Class Notice, Claim Form, and Opt-out Form,

 have been negotiated and agreed upon by all counsel. The Class Notice will inform Settlement

 Class Members of, among other things: (1) appropriate information about the nature of this

                                                 18
Case 2:16-cv-02907-SHM-tmp Document 369-1 Filed 05/12/21 Page 19 of 23                          PageID
                                    3810



 litigation, the Settlement Class, Plaintiff’s counsel, and the essential terms of the Settlement; (2)

 appropriate information about Plaintiffs’ counsel’s forthcoming application for attorneys’ fees and

 the incentive award; (3) appropriate information about how to participate in or opt-out of the

 Settlement; (4) appropriate information about this Court’s procedures for final approval of the

 Settlement; (5) appropriate information about how to challenge or opt out of the Settlement, if they

 wish to do so; and (6) appropriate instructions as to how to obtain additional information regarding

 this litigation and the Settlement. Therefore, the proposed Class Notice is adequate and should

 issue accordingly.

        In addition to publication notice, the Parties have given proper notice pursuant to the Class

 Action Fairness Act of 2005, 28 U.S.C. § 1715. (Declaration of S. Conaway ¶¶ 2-4, attached as

 Exhibit 3 (“Conaway Decl.)). More specifically, the Parties gave notice of the Settlement to the

 U.S. Attorney General and to the attorneys general of 41 states. In order to determine which states

 to provide notice to, the Parties calculated the number of likely Class Members in each state by

 reviewing arrest data for the relevant time period by state and applying the relevant percentages to

 the estimated number of Class Members. The notice also otherwise complied with all the

 requirements of 28 U.S.C. § 1715.

                                          CONCLUSION

        For the foregoing reasons, the Parties respectfully request that the Court enter the proposed

 Order Granting Motion for Preliminary Approval of Class Action Settlement, Certifying

 Settlement Class, Directing Class Notice, and Scheduling Final Approval Hearing submitted

 herewith and specifically including in that order the following:

        (1)     Preliminarily approve of the Settlement as fair, reasonable, adequate and in
                the best interests of the Class Members;

        (2)     Preliminarily certify, for purposes of settlement only, the Settlement Class;
                                                  19
Case 2:16-cv-02907-SHM-tmp Document 369-1 Filed 05/12/21 Page 20 of 23                          PageID
                                    3811



       (3)    Preliminarily appoint Interim Class Counsel as Settlement Class Counsel
              and approve of compensation for Class Counsel as contemplated by the
              Settlement;

       (4)    Preliminarily appoint the named Plaintiffs as Class Representative Plaintiffs
              and approve of Incentive Awards as contemplated by the Settlement;

       (5)    Approve of the issuance of Class Notice to Class Members via publication
              and determine that such Notice complies with all requirements, including,
              but not limited to, Rule 23 of the Federal Rules of Civil Procedure and the
              Due Process Clause of the United States Constitution;

       (6)    Approve of the form of notice provided pursuant to the Class Action
              Fairness Act as reasonable and appropriate under the circumstances;

       (7)    Approve of and designate CMM Settlement Solutions as the Administrator
              and order that firm to disseminate, in accordance with the terms of the
              Settlement and Preliminary Approval Order, the Class Notice;

       (8)    Require Class Members who wish to object to the Settlement to submit a
              timely written objection by a deadline and advise that a failure to do so shall
              prevent those Class Members from objecting to the Settlement;

       (9)    Require any Class Member who objects to the Settlement and wishes to
              appear at the Final Approval Hearing to file a notice of intent to appear;

       (10)   Set a Claim Deadline and a deadline and procedure by which Class Members
              can opt out or exclude themselves from the Settlement Class;

       (11)   Authorize the Parties to take all necessary and appropriate steps to
              implement the Settlement; and

       (12)   Schedule a Final Approval Hearing.




                                                20
Case 2:16-cv-02907-SHM-tmp Document 369-1 Filed 05/12/21 Page 21 of 23                   PageID
                                    3812



 Dated: May 12, 2021


 Respectfully submitted,



 _____s/ Michael G. McLaren______________           ____s/ Frank L. Watson, III____________
 Michael G. McLaren (#5100)                         Frank L. Watson, III (Tenn. Bar No. 15073)
 William E. Cochran, Jr. (#21428)                   William F. Burns (Tenn. Bar No. 17908)
 Brice M. Timmons (#29582)                          William E. Routt (Tenn. Bar No. 28577)
 BLACK MCLAREN JONES RYLAND & GRIFFEE PC            WATSON BURNS, PLLC
 530 Oak Court Drive, Suite 360                     253 Adams Avenue
 Memphis, TN 38117                                  Memphis, Tennessee 38104
 (901) 762-0535 (Office)                            Phone: (901) 529-7996
 (901) 762-0539 (Fax)                               Fax: (901) 529-7998
 Email: mmclaren@blackmclaw.com                     Email: fwatson@watsonburns.com
 Email: wcochran@blackmclaw.com                     Email: bburns@watsonburns.com
 Email: btimmons@blackmclaw.com                     Email: wroutt@watsonburns.com



 ____s/ Brice M. Timmons__________________
 Brice M. Timmons (TN Bar #29582)
 DONATI LAW, PLLC
 1545 Union Ave.
 Memphis, TN 38104
 (901) 209-5500
 (901) 278-3111
 Email: brice@donatilaw.com

 Counsel for the named Plaintiffs and Court Appointed Rule 23(g)(3) Interim Class Counsel for
 the putative Class Members




                                               21
Case 2:16-cv-02907-SHM-tmp Document 369-1 Filed 05/12/21 Page 22 of 23                PageID
                                    3813



  ____s/ Robert E. Craddock______________      ___s/ Emmett Lee Whitwell _________
  Robert E. Craddock, Esq.                     Emmett Lee Whitwell, Esq.
  Odell Horton, Jr., Esq.                      SHELBY COUNTY ATTORNEY’S OFFICE
  Megan M. Cox, Esq.                           160 N. Main Street
  WYATT, TARRANT & COMBS, LLP                  Suite 950
  1715 Aaron Brenner Drive, Suite 800          Memphis, TN 38103
  Memphis, Tennessee 38120                     (901) 222-2100
  (901) 537-1000                               Email: lee.whitwell@shelbycountytn.gov
  Email: rcraddock@wyattfirm.com
  Email: ohorton@wyattfirm.com
  Email: mcox@wyattfirm.com                    Counsel for Defendants Bill Oldham, Floyd
                                               Bonner, Jr., Robert Moore, Kirk Fields,
  Counsel for Defendants Bill Oldham, Floyd    Charlene McGhee, Reginald Hubbard, Debra
  Bonner, Jr., Robert Moore, Kirk Fields,      Hammons, Tiffany Ward, and Shelby County,
  Charlene McGhee, Reginald Hubbard, Debra     Tennessee
  Hammons, Tiffany Ward, and Shelby County,
  Tennessee


  ___s/ Bradley E. Trammell _____________      __s/ Beth Bivans Petronio _____________
  Bradley E. Trammell, Esq.                    Beth Bivans Petronio, Esq.
  BAKER, DONELSON, BEARMAN,                    K&L GATES, LLP
  CALDWELL & BERKOWITZ, P.C.                   1717 Main Street
  165 Madison Avenue, Suite 2000               Suite 2800
  Memphis, Tennessee 38103                     Dallas, Texas 75201
  (901) 577-2121                               (214) 939-5815
  Email: btrammell@bakerdonelson.com           Email:beth.petronio@klgates.com

  Counsel for Defendant Tyler Technologies,    Counsel for Defendant Tyler Technologies,
  Inc.                                         Inc.


  __s/ Douglas F. Halijan ________________     __s/ R. Brandon Bundren ______________
  Douglas F. Halijan, Esq.                     R. Brandon Bundren, Esq.
  William David Irvine, Esq.                   James L. Murphy, Esq.
  BURCH PORTER & JOHNSON                       BRADLEY ARANT BOULT CUMMINGS LLP
  130 N. Court Avenue                          1600 Division Street, Suite 700
  Memphis, TN 38103-2217                       Nashville, TN 37203
  (901) 524-5000                               (615) 252-4647
  Email: dhalijan@bpjlaw.com                   Email: bbundren@bradley.com
  Email: wirvine@bpjlaw.com                    Email: jmurphy@bradley.com

  Counsel for Defendant Software AG Cloud      Counsel for Defendant Global TelLink
  Americas, Inc.                               Corporation



                                              22
Case 2:16-cv-02907-SHM-tmp Document 369-1 Filed 05/12/21 Page 23 of 23                PageID
                                    3814



  _s/ Albert G. McLean_________________          __s/ Robert A. McLean________________
  Albert G. McLean, Esq.                         Robert A. McLean
  Kevin David Bernstein, Esq.                    Garrett M. Estep
  SPICER RUDSTROM PLLC                           FARRIS BOBANGO BRANAN PLC
  119 S. Main Street, Suite 700                  999 S. Shady Grove Road, Suite 500
  Memphis, TN 38103                              Memphis, TN 38120
  901-522-2324                                   (901) 259-7100
  Email: amclean@spicerfirm.com                  rmclean@farris-law.com
  Email: kdb@spicerfirm.com                      gestep@farris-law.com

  Counsel for Defendant Sierra-Cedar, Inc.       Counsel for Defendant Tetrus Corp.




  __s/ Heather Gwinn-Pabon_____________
  Heather Gwinn-Pabon
  Erin McDaniel
  GORDON REES SCULLY
  MANSUKHANI
  3401 Mallory Lane, Suite 120
  Franklin, TN 37067
  hgwinn@grsm.com

  Counsel for Defendant Sierra Systems Group,
  Inc.




                                                23
